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              IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


MOBILE HEALTHCARE
FACILITIES, LLC,

                 Plaintiff,             Civil Action File
vs.                                     No.: 1:21-cv-4038-SEG
AVANTE HEALTH SOLUTIONS,

                 Defendant.


      DEFENDANT AVANTE HEALTH SOLUTIONS’S RESPONSE TO
      PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

Sarah E. Trevino                    Jason R. Scheiderer
Georgia Bar No. 660094              (admitted pro hac vice)
Sarah Hannah Phillips
Georgia Bar No. 302869              DENTONS US LLP
                                    4250 Main St., Suite 1100
DENTONS US LLP                      Kansas City, Missouri 64111
303 Peachtree St., NE, Suite 5300   Telephone: 816-460-2400
Atlanta, Ga 30308                   E-mail: jason.scheiderer@dentons.com
Telephone: 404-527-4000
E-mail: sarah.trevino@dentons.com
sarahhannah.phillips@dentons.com
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                           I.    INTRODUCTION

      During the height of COVID-19, MHF began discussions with Colonel

Coldwell of TDEM to supply Texas with mobile facilities. (Affeldt Dep., 18:17-

19:8.) MHF contacted Avante in regard to ordering equipment. (Id., Ex. 64.) On

September 8, 2020, MHF requested a quote for “36 ea. Ventilators.” (Hampton

Dep., Ex. 4.) After informing MHF of the items available during the pandemic,

MHF agreed to purchase certain ventilators and hospital beds. Only after MHF

learned that it ordered its customer did not prefer the items MHF had selected,

MHF attempted to place the blame on Avante. The evidence, however, confirms

that MHF received exactly what it chose and contracted for. Indeed, MHF, to date,

still has the items it selected in its possession. Moreover, MHF has used those

same items to promote its company on its website.

      Yet, MHF now asserts a claim for breach of contract, fraud, and negligent

misrepresentation, claiming that Avante should have decided what products MHF

needed and should order for its mobile health facilities. As further detailed in

Avante’s Motion for Summary Judgment (Dkt. No. 45) the record proves that all

of MHF’s claims fail.
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                       II.   FACTUAL BACKGROUND1

A.       The Parties

         Plaintiff Mobile Health Facilities (“MHF”) is a company that provides

“mobile healthcare solutions.” (ECF 101, ¶ 1.) MHF’s core business is providing

trailers for mobile healthcare facilities. (Dep. of Affeldt (“Affeldt Dep.”), Dkt. No.

43, 23:3-7.) Over the past couple of years, MHF has provided facilities to a

customer in Phoenix, Arizona; for the Tohono O’odhma Tribe; and for the Arapah-

Sioux Tribe in Montana. (Id., 21:42-22:6, 22:17-22, 26:19-27:11.) It provides the

“option” of a turnkey facility that contains medical equipment to 15-20% of its

customers. (Id. 28:6-15). However, the subject facility—provided to TDEM—

was the very first critical care unit MHF has ever tried to provide. (Id., 83:13-

84:1.)

         Kyle Affeldt is the CEO of MHF and Marlin Anderson is the CIO. (Id.,

54:11-55:17). Mr. Affeldt is the sole person at MHF who designs the facilities.

(Id., 41:15-42:17.) He selects and purchases equipment based on his previous

1
  Avante notes that this Court’s standing order states: “All citations to the record
evidence should be contained in each party’s brief, not just in the party’s statement
of undisputed (or disputed) facts.” MHF did not abide by this rule and cites to its
statement of material fact in its brief. Avante will file contemporaneously its
responses to those statements. In addition, Avante restates its Statement of
Material Fact in support of its Motion for Summary Judgement, Dkt. 45, herein.

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position as Vice President for a company that built mobile surgery facilities. (Id.,

42:8-17.) He is “very knowledgeable in all of the different types of medical

requirements for facilities” and considers himself as having “expertise” in “all of

the different types of medical requirements for facilities.” (Id.) Mr. Affeldt

testified that, based on this expertise, he would never “hand that [decision] off to

somebody that has very little experience in it.” (Id.) He decides what equipment

to buy through “internet searches” and through an independent medical consultant

Nurse Feist. (Id., 34:16-20; 94:14-24.)

      Avante is a medical equipment supplier, and provides the sale of ICU

equipment, surgical equipment, and even veterinarian equipment. (Id., 54:11-

55:17.) Misty Hampton is sales representative at Avante. (Dep. of Misty Hampton

(“Hampton Dep.”), Dkt. No. 44, 14:13-14.). Ms. Hampton provides consulting

services in that she “provides [customers] with specifications, any sort of technical

. . . terms from the manual” and can provide features if asked. (Hampton Dep.,

178:9-18.) She provides customers with as much information provided to Avante

from the manufacturer. (Id.). She is not an “expert” in medical equipment. (Id.,

186:18-20.) While she considers herself to have some knowledge in medical

equipment she is not “an expert in ventilators.” (Id., 185:12-14.)



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B.    MHF’s Contract with the State of Texas

      During the height of COVID-19, MHF began discussions with Colonel

Coldwell of TDEM to supply Texas with mobile facilities. (Affeldt Dep., Dkt. No.

43, 18:17-19:8.) During these discussions, MHF contends that TDEM told MHF

“everything they wanted, medical equipment wise.”        (Id., 36:19-37:5.)   MHF

admitted to TDEM that the equipment was dependent on “what was available at

the time of purchase.” (Id., 37:1-5.)

      On approximately August 25, 2020, Mobile Healthcare Facilities secured a

$11.35 million contract with the State of Texas (“TDEM Contract”) to set up

mobile healthcare facilities to combat the COVID-19 pandemic. (Id., Dkt. No. 43-

6). The equipment list for the TDEM Contract includes:

      (9) Styker II Refurbished Electrical Hospital Beds for $40,500.

      (9) TBD Ventillators [sic] for $144,000.

(Dkt. No. 43-8, p. 5.)

C.    MHF Facilities Contacts Avante to Order Equipment.

      Mr. Affeldt began researching MHF’s equipment needs. (Affeldt Dep., Dkt.

No. 43, 39:10-19.) MHF contacted Avante around August 25, 2020 in regard to

ordering ultrasound systems as well as other equipment. (Dkt. No. 43-5.) On

September 8, 2020, MHF requested a quote for “36 ea. Ventilators.” (Dkt No., 44-

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4.) Days later, Avante sent MHF Quote for, among other things, 36 Puritan

Bennett PB840 Ventilators and 36 Avante Premio Plus E250 Hospital Beds.2 (Dkt.

No. 44-8.)

      On September 13, 2020, Ms. Hampton e-mailed MHF to notify them of the

following:

          Ms. Hampton: “Also, after speaking with our production director, we
           need to revise your quote to replace the PB840 vent with the Vivo 65
           shown here: https://www.breas.com/products/vivo/vivo-65-usa/”
           (Dkt. No. 43-7.)
          MHF responded: “Is the reason current inventory? How does this
           ventilator compare to the PB840?” (Id.)
          Ms. Hampton responded: “Finding 36 refurbished ventilators of the
           same model is very difficult due to the current pandemic. The Vivo 65
           is new and also does not require an air compressor, like the PB840.
           You are saving money and providing a better quality product.” (Id.)
          MHF: “Excellent!” (Id.)

      Neither MHF nor Mr. Affeldt did anything to independently verify the

suitability of the Vivo 65 ventilators for Texas’ emergency use. (Dkt. No. 43,

95:16-20.) Mr. Affeldt did no research. (Id., 93:20-94.) He did not speak to

TDEM or Nurse Feist. (Id., 94:14-24.) He never even asked Avante if the Vivo 65




2
 After Avante provided the initial quote, MHF provided Avante with a copy of the
Purchase Order with Texas so Avante knew “this deal is real.” (Hampton Dep.,
Dkt. No. 44-9.)

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could be used in an ICU setting. (Id., 95:5-13). Instead, he promptly approved the

Vivo 65 and made his order.

      After approval from MHF, Avante prepared an amended quote which

included:

      SKU                DESCRIPTION
      40VIVO65N          BREAS VIVO 65 RESPIRATORY VENTILATOR

      QTY                UOM         PRICE EACH                AMOUNT
      36.0000            EA          10,000.0000               360,000.000

(Hampton Dep., Dkt. No. 44-21.) MHF has testified that the entire agreement

consists of the Quote/Purchase Order and Payment. (Affeldt Dep., Dkt. No. 43

192:15-8) (“Q. Tell me, what are the documents that make up your agreement with

Avante? A. Purchase order and payment. Q. And those are the documents that

comprise the contract? A. From my perspective, yes.”). MHF has testified that it

agreed to the terms of this new quote. (Id., 193:13-17 (“Q. You agree, though,

that the purchase order is for the Vivo 65, right? A. That was based on what they

said was a better product than what I originally had in the original purchase

order.”)

      Ms. Hampton informed MHF that “the hospital beds he had ordered were no

longer available. So I had provided him with options that we had in stock that

could meet his timeline.” (Hampton Dep., Dkt. No. 44, 100:5-9.) In fact, Ms.

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Hampton provided MHF with internet hyperlinks to two beds they had in stock: (1)

the Avante Premio M3 bed, and the Premio RB bed. (Dkt. No. 45-1, Exhibit C.)

MHF later selected the $2,000.00 Premio RB Patient Bed via telephone

conversation. (Dkt. No. 45-1, attached as Exhibit D).

D.     Months Later, TDEM Drastically Changes the Scope of the Project.

       On November 14, 2020, MHF e-mailed STRAC/TDEM an equipment list

which contained the original purchase quote that had the beds listed as Stryker

beds and the Ventilators as TBD. (Affeldt Dep., Dkt. No. 43-8, p. 5.) It also

contained the following updated information:




(Id., p. 8.)

       STRAC, mentioning nothing about the venitaltors or beds, listed items it

wanted to swap out. (Dkt. No. 43-10.) MHF’s response was:

       Sara, . . . We understand the challenges TDEM has been under with
       all of the natural disasters (Hurricanes) and COVID-19 this fall and
       their manpower required to handle all of these emergencies.
       However, this has made it difficult for us to receive the planning
       and direction we needed early on in this project. Not until this last
       week when your team came on-board, has there been the required
       focus on this project and communications with us so we can
       ensure the products meets your expectations. However, we are up
       to the task of making the necessary adjustments to make it all work as
       quickly as possible without reducing the level of product quality.
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(Dkt. No. 43-9) (emphasis added).

      MHF admitted that TDEM had “drastically change[d] the mission

and scope of this project,” and

      the sourcing of these pieces of equipment was never specific by
      TDEM. All of these items were sourced and put onto a quote by
      Mobile Healthcare Facilities primarily as just a conveneince service to
      TDEM. [MHF] don’t typically source this kind of equipment because
      it is also another way to quickly lose money. In adidtion to no
      specifications for the equipment, this project had another problem
      form the receipt of the Purchase Order.

(Dkt. No. 43-10.) MHF admitted that this was when STRAC changed its mind and

“wanted to use one of the manufacturers that it had experience with”—the Zoll

ventilator. (Dkt. No. 43, 129:20-22.) Like the PB840, but unlike the Vivo 65,

MHF actually conducted some diligence concerning the Zoll ventilator that

STRAC desired. (Id., 130:5-19.) At no point did STRAC say it wanted to change

to a Zoll ventilator because it was approved or rated for use in an ICU. (Id.,

131:13-22.) MHF began contacting Zoll to purchase their ventilators. (Dkt. No.

43-12.)

      The next day, on November 20, 2020, MHF e-mailed Avante and told

Avante “My customer does not like the following pieces of equipment that we

purchased from you since they already have and use a different manufacturer for


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these types of units and only after all of this time tell me what.” (Dkt. No. 43-11.;

Dkt. No. 43, 140:5-18.) In an attempt to fix both MHF’s and TDEM’s lack of

specifications and communication with each other, MHF tried to place the blame

on Avante.

      After having the publicly available hyperlink to the Vivo 65 website for two

months, MHF finally read the information contained with the link and notified

Avante:

      I just went on the Bres website and it states “The device is intended to
      be used in home, institution, hospitals and portable applications such
      as wheelchairs and gurneys. It may be used for both invasive and non-
      invasive ventilation. The Vivo 65 is not intended to be used as a
      transport or critical care ventilator. Therefore, it is TRUE!

(Dkt. No. 43-13.)

      True to form, MHF shows its lack of credibility when ordering products or

making changes. As example, on December 7, 2020, Joe Palfini of TDEM asked

MHF “How much would it be to add two invasive blood pressure modules and an

end tidal CO2 with cables for each of the nine monitors in each trailer?” (Dkt. No.

45-1, Exhibit E.) Rather than make that change order, MHF, very dishonestly,

then e-mailed Avante stating that MHF was “What also just came to my attention,

you also sold me the wrong patient monitors. What we were to also have are the

monitors that also have two invasive blood pressure modules and an end tidal Co2

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module with cables”—knowing full well that TDEM had changed its mind and

MHF ordered the wrong one. (Dkt. No. 45-1, Exhibit F.)

E.   MHF Still has in its Possession the Nine Beds and Thirty Six Ventilators
And Has Done Nothing to Mitigate Any Claimed Damages.

      Although MHF states that it initially rejected the first twenty-seven beds it

received, it accepted a second shipment of nine beds. (Dkt. No. 43., 74:17-22;

75:9-15.) Because MHF believes “showing potential customers past successful

projects is a good way to earn business,” it unpacked, and promoted those nine

beds on its website. (Id., 206:19-207:9.) In fact, as of today, those are still in

MHF’s possession and still being promoted on its website. (Dkt. No. 43-20, p. 4.)

Although MHF testified that it never put those beds in its facilities, when

confronted with their website photographs, MHF stated “I said we never used

them.” (Dkt. No. 43., 211:14-24.) MHF admitted it set the beds up as a display,

and took photos to promote on its website. (Id., 212:2-19.)

      MHF admits that although it is attempting to recover damages for the

ventilators, it still has the ventilators in its possession. (Id., 151:18-152:10.) MHF

has done nothing to mitigate any alleged damages. It never attempted to sell the

ventilators. (Id., 151:18-21.) Nor did it ever attempt to donate the ventilators

during the height of COVID-19 when hundreds of thousands of people were dying


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throughout the world due to, in part, a critical shortage of ventilators. (Id., 152:8-

10.)

           III.   ARGUMENT AND CITATION OF AUTHORITIES

       MHF argues that although it received the items it contracted for—and still

has those items in its possession—that somehow it is entitled to over $450,000 in

damages.

A.     Avante Supplied MHF the Exact Ventilators it Ordered.

       The Purchase Order dated September 11, 2020, notes that MHF agreed to

purchase the following:

SKU              DESCRIPTION
40VIVO65N        BREAS VIVO 65 RESPIRATORY VENTILATOR
QTY              UOM      PRICE EACH        AMOUNT
36.0000          EA       10,000.0000       360,000.000
(Hampton Dep., Ex. 21.)

       However, now MHF asserts that Avante somehow breached the Contract—

i.e., the Purchase Order—by delivering exactly 36 Breas Vivo 65 Respiratory

Ventilators. MHF admits it agreed to change the order of ventilators from the

original PB840 to the Vivo 65, and that it received the Vivo 65. (Affeldt Dep.,

Dkt. No. 43, 193:13-17) (“Q. You agree, though, that the purchase order is for the

Vivo 65, right? A. That was based on what they said was a better product than

what I originally had in the original purchase order.”)

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       While MHF insists that it agreed to the change order because Avante

informed MHF that the Vivo 65 was a better product. In fact, Avante said it was a

“better quality product” because it “is new and also does not require an air

compressor.” (Dkt. No. 43-7.) Although it contends otherwise, at no point did Ms.

Hampton state “this is a better product because it can used in an ICU unit.”

       MHF nonetheless contracted to receive the Vivo 65. And it received just

that. There cannot be a breach of contract between two sophisticated parties—one

who provides mobile healthcare facilities throughout the country and another who

provides products ordered—where the party delivered exactly what was contracted.

(ECF 1-1, ¶ 1.)

       Now, MHF argues, and expects this Court to believe that it was somehow

dupped into ordering the ventilators. By its own admission, MHF “is a longtime

provider of mobile ICU facilities.” (Dkt. 47, p. 1.) And Mr. Affeldt, himself, touts

that he is the expert in medical equipment. He is “very knowledgeable in all of the

different types of medical requirements for facilities” and considers himself as

having the “expertise” in “all of the different types of medical requirements for

facilities.”   (Dkt. 43, 42:8-17.)   Mr. Affeldt testified that based on this vast

expertise, he would never “hand that [decision] off to somebody that has very little



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experience in it.” (Dkt. 43, 42:8-17.) But now, after his mistake, he attempts to do

just that.

B.       Avante Supplied MHF the Exact Beds it Ordered.

         The evidence of record shows that Avante contacted MHF and explained

that “we have a shortage on the Premio E250 hospital bed. . . if you require

delivery before then, the good news is we have two options in stock.” (Dkt. No.

45-1, p. 204.) Ms. Hampton included a link to the specs for the remaining bed.

(Id.).

         Although MHF, conveniently, states that it has “no recollection of receiving

this e-mail,” the undisputed evidence shows that the e-mail was sent.            No

recollection of receipt of an e-mail is not the same as non-existence of that

communication. Thus, at minimum, there exists a jury question as to a change

order concerning the beds.

C.    MHF Accepted the Beds and Use them in an Act Inconsistent of its
Alleged Rejection of Same.

         As noted in its Motion for Summary Judgment, MFH’s using the beds on its

website to promote its mobile healthcare units is an act which is inconsistent with

any alleged rejection of such goods. Under Georgia law, “[A] buyer who purports

to revoke his acceptance of goods may be found to have re-accepted them if, after

such revocation, he performs acts which are inconsistent with the seller’s
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ownership of the goods.” Griffith v. Stovall Tire & Marine, Inc., 174 Ga. App.

137, 5:02-CV-2004, (1985); Gill v. Blue Bird Wanderlodge, No. 2004 WL

5311476, at *4, 2004 U.S. Dist. LEXIS 27437, at *16 (M.D. Ga Feb. 24, 2004)

(plaintiff found to have reaccepted motor home where he drove it 13,000 miles

after sending a letter of revocation); see also Ardus Medical, Inc. v. Emanuel Cnty.

Hosp. Authority, 558 F. Supp. 2d 1301 (S.D. Ga. May 7, 2008) (could not show

revocation where hospital still had the pumps in its possession).

      In Gill, the plaintiffs alleged—as here—that they rejected a motorhome.

2004 WL 5311476, *4-5. However, the plaintiffs did not dispute their continued

used of the motorhome after the alleged revocation and filing of the suit. Id. The

plaintiffs argued that the condition of the vehicle was not substantially changed

and that their continued use was a question for the jury. The court found that

revocation of acceptance was a matter of law in circumstances such as this. It

granted summary judgment in favor of the defendant noting that it had presented

unrefuted evidence that the plaintiffs continued to possess and use the vehicle after

the purported revocation and after filing the suit. “Plaintiffs continued acting as

the owners of the vehicle” which was inconsistent with the theory of revocation.

Id.



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      Similar to Gill, although MHF made complaints to Avante of brand of the

nine beds it received, its continued use of the nine beds is inconsistent with any

theory of revocation. MHF unsealed and unpacked the beds and set them up for

promotional use on their website. (Affeldt Dep., Dkt. No. 43, 206:19-207:9.)

MHF stated that “showing potential customers past successful projects is a good

way to earn business.” (Id., 206:19-207:9.) In fact, well after the suit was filed,

the beds were still in MHF’s possession and still being promoted on its website.

(Dkt. No. 43-20, p. 4.) Although MHF testified that it never put those beds in its

facilities, when confronted with their website photos, MHF stated “I said we never

used them” (Dkt. No. 43, 211:14-24.) MHF admitted they set the beds up as a

display, and took photos to promote on their website. (Id., 212:2-19.)

D.  The Evidence of Record Shows that MHF Made No Attempt to Mitigate
Damages.

      O.C.G.A. § 13-6-5 states “[w]here by a breach of contract a party is injured,

he is bound to lessen the damages as far as is practicable by the use of ordinary

care and diligence.” See also Gen. Elec. Capital Corp. v. Nucor Drilling, Inc., 551

F. Supp. 2d 1375, 1381 (M.D. Ga. 2018).

      Even if Avante had failed to supply what it agreed upon—which it did not—

MHF sat on the ventilators for over a year in an environment where the entire


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world was in a critical shortage of ventilators. MHF still has in its possession all

thirty-six Vivo 65 ventilators. MHF has done nothing by way of attempting to re-

sell the ventilators. (Dkt. No. 43, 151:18-21.) Nor did it ever attempt to donate the

ventilators during the height of COVID-19. (Id., 152:8-10.)

      As to the beds, although MHF states that it initially rejected the first twenty-

seven beds it received, it accepted a second shipment of nine beds. (Id., 74:17-22;

75:9-15.) Because MHF believes “showing potential customers past successful

projects is a good way to earn business,” it unpacked, and promoted those nine

beds on its website. (Id., 206:19-207:9.) In fact, as of today, those are still in

MHF’s possession and still being promoted on its website. (Dkt. No. 43-20, p. 4.)

Although MHF testified that it never put those beds in its facilities, when

confronted with their website photographs, MHF stated “I said we never used

them” (Dkt. No. 43, 211:14-24.) MHF admitted it set the beds up as a display, and

took photos to promote on its website. (Id., 212:2-19.)

D.    MHF has Offered No Evidence of Damages in its Motion.

      In addition to MHF’s failure to establish any breach of contract, MHF has

also failed to establish its claim for damages. As set forth above, the movant has

the burden of establishing that there are no genuine issues of material fact as to

each issue for which he is seeking summary judgment. Since MHF is also seeking

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summary judgment for its claim of damages, MHF is also required to present

evidence establishing that there is no genuine issue as to a material fact regarding

damages.

      For its contention that it is somehow owed $91,800 for beds still in its

possession and $360,000 for ventilators still in its possession, MHF cites to “SOF,

¶ 19” to support its alleged damages. However, MHF’s Statement of Material

Fact, paragraph 19 merely lists a Revised Quotation. See Dkt. 47-1. MHF has

offered no evidence of payment in its motion for summary judgment. Thus,

because MHF has neither supplied, nor cited to any evidence of actual payment of

these items—other than a photograph of an unprocessed check—a jury question

exists as to the damages claimed by MHF.3




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  To the extent MHF submits new evidence in a reply brief, Avante asks this Court
to refrain from relying on such or allow Avante a surreply. “When faced with a
reply brief that offers new evidence, we, like the Tenth Circuit, conclude that the
district court has two permissible courses of action. It can either (1) permit the
nonmoving party to file a surreply or (2) refrain from relying on any new material
contained in the reply brief. . . But it may not preclude the nonmoving party from
filing a surreply and then grant summary judgment based on new material
presented only in the reply brief.” Atlantic Specialty Ins. Co. v. Digit Dirt Worx,
Inc., 793 Fed. Appx 896 (11th Cir. 2019).

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                               IV.     CONCLUSION

      On the undisputed facts, Avante asks the Court to deny Plaintiff’s Motion

for Partial Summary Judgment and grant Avante’s Motion for Summary Judgment

against all of MHF’s claims.         MHF ignores that it received exactly what it

contracted for and offers nothing by way of any attempt to mitigate damages.

Although MHF attempts to muddy the record with its baseless claims that it

“rel[ied] on Avante’s expertise,” it offers nothing by way of any reasonable

reliance on such expertise, or that Avante is, in fact, an expert on MHF’s

equipment needs. Instead, MHF admits that it “is a longtime provider of mobile

ICU facilities” and got exactly what it contracted for.

      Respectfully submitted this 11th day of November, 2022.

                                           /s/ Sarah Trevino
                                           Sarah E. Trevino
                                           Georgia Bar No. 660094
                                           Sarah Hannah Phillips
                                           Georgia Bar No. 302869
                                           DENTONS US LLP
                                           303 Peachtree St., NE, Suite 5300
                                           Atlanta, Ga 30308
                                           Telephone: 404-527-4000
                                           sarah.tremino@dentons.com
                                           sarahhannah.phillips@dentons.com
                                           Jason R. Scheiderer
                                           (admitted pro hac vice)
                                           DENTONS US LLP
                                           4250 Main St., Suite 1100

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                               Kansas City, Missouri 64111
                               Telephone: 816-460-2400
                               jason.scheiderer@dentons.com

                               Counsel for Defendant




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                    CERTIFICATE OF COMPLIANCE

     I hereby certify, pursuant to L.R. 5.1B and 7.1D of the Northern District of

Georgia, that the foregoing DEFENDANT AVANTE HEALTH SOLUTIONS’

RESPONSE TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY

JUDGMENT complies with the font and point selections approved by this court in

L.R. 5.1B. This pleading was prepared using 14-point Times New Roman Font.


                                       /s/ Sarah Trevino
                                       Sarah E. Trevino
                                       Georgia Bar No. 660094




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                             CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing DEFENDANT

AVANTE           HEALTH       SOLUTIONS’        RESPONSE      TO      PLAINTIFF’S

MOTION          FOR       PARTIAL    SUMMARY        JUDGMENT          was   filed   on

November 11, 2022 via the Court’s ECF electronic filing system and will notify all

participating registered users as follows:


                          Brian S. Goldberg
                          Leo Kogan
                          FREEMAN MATHIS & GARY, LLP
                          100 Galleria Parkway
                          Suite 1600
                          Atlanta, Georgia 30339
                          E-mail: bgoldberg@fmglaw.com
                          lkogan@fmglaw.com

                          Alan C. Manheim
                          25 Alexander Street
                          Suite 3
                          Marietta, Georgia 30060
                          E-mail: alan@acmlaw.net


                                             /s/ Sarah Trevino
                                             Sarah Trevino
                                             Georgia Bar No. 660094
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